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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
LUCAS CALIXTO, et al,                )
                                     )
            Plaintiffs,              )
                                     )
      v.                             )   Case No. 1:18-cv-01551-ESH
                                     )
UNITED STATES DEPARTMENT OF )
THE ARMY, et al. ,                   )
                                     )
            Defendants.              )
____________________________________)

                DECLARATION OF TOUNDE EMERY PRECIEUX DJOHI

I, Tounde Emery Precieux Djohi, hereby declare as follows:

        1.     I am a 28-year-old native and citizen of Benin.

        2.     I first came to the United States in August 2013 on an F-1 visa. I have not traveled

outside the United States since arriving in 2013.

        3.     In December 2015, I enlisted in the United States Army Reserve through the

Military Accessions Vital to the National Interest (“MAVNI”) program. I signed an eight-year

enlistment contract and took my service oath at Fort Lee in Virginia.

        4.     In February 2016, I began participating in military drills with the 130th Chemical

Company in Fort A.P. Hill, Virginia as a U.S. Army Specialist (E-4).

        5.     In March 2016, USCIS received my completed naturalization application (Form N-

400).

        6.     My naturalization application included a Form N-426, by which my commanding

officer certified my honorable service in the U.S. military.




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       7.        On February 1, 2018, the Army issued a second N-426 signed by Col. Brian

Thomas, indicating that “derogatory information” was found in my background investigations that

would “require separation.”      The N-426 provided no explanation or details regarding the

supposedly “derogatory information.” However, even though the N-426 included this language,

the Army once again certified my honorable service on the form, which indicates that the supposed

“derogatory information” did not change the fact that I have at all times honorably served in the

U.S. military.

       8.        During the six-month period immediately following receipt of that second N-426,

I received no additional information from the military about any so-called “derogatory

information” nor did the Army inform me that it intended to initiate my separation or discharge

from the military. In fact, Army personnel led me to believe that I would be receiving a BCT ship

date soon.

       9.        In mid-June, in response to an inquiry I had made to my recruiter concerning a

Request for Evidence (“RFE”) I had received from USCIS, I received a message from my Army

recruiter stating that my MSSD results were unfavorable. The recruiter told me that as a result of

my unfavorable MSSD, I was being processed for separation from the U.S. Army.

       10.       On June 20, 2018, I received a discharge order from my recruiter. The discharge

order says that on June 11, 2018, the U.S. Army issued Order number 162-003, which states that

I was discharged from the U.S. Army Reserve with an effective date of July 1, 2018. The discharge

order cites as “Authority” “AR 135-178, paragraph 15-8,” but I could not locate such a paragraph

in that Army Regulation, so I am not sure what “authority” was being referenced there. The

discharge order specifies the “Type of Discharge” as “Entry Level Separation (Conduct




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Disqualification).” A copy of that discharge order is attached to this declaration as Exhibit A (with

certain personal information redacted).

        11.        The discharge order refers to me as “PVT,” but that reference is incorrect as my

rank is E-4.

        12.        Thereafter, on June 22, 2018, I emailed SFC Isis Sake at Army Headquarters to

inquire about the reasons for my discharge. SFC Sake did not give me any information regarding

the reasons for my discharge, and refused to discuss my background check results, claiming that

my results “will not be available for release until the year 2042.” A copy of the email exchange

with SFC Sake (with certain personal information redacted) is attached as Exhibit B. The

statement about having to wait until 2042 to learn why I have been discharged is found on page 2

of that document/exhibit.

        13.        I was provided no specific reasons or grounds for my discharge. I was provided

none of the facts or circumstances that the Army considered or found to justify my discharge.

        14.        While my discharge order refers to an “entry level separation” and a “conduct

disqualification,” SFC Sake told me by email that I “do not meet the Army’s Personnel Security

requirement for continued service.” See Exhibit B at 2.

        15.        I do not know why I am purportedly being discharged from the U.S. military. I

have never been subject to any military disciplinary proceeding or action. I have never been

informed that my “conduct” is inappropriate.           In fact, I have received several letters of

recommendation from military leaders and other personnel familiar with me and my performance

in the military.

        16.        On June 28, 2018, one of the leaders from my Army unit wrote the following,

among other things:



                                                   3
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               I am writing to tell you of the many fine qualities of Tounde Djohi,
               whom I have known for two and a half years. . . Unlike new soldiers
               coming into the unit, Tounde Djohi’s personality allowed him to fit
               right in with the rest of the unit as if he had been there for many
               years. Tounde Djohi had an outstanding work ethic while in the
               unit. He was hard working and dedicated to completing every task.
               I can say without a doubt that Tounde Djohi is a person of good
               moral character and operates with integrity. He has served
               honorably with the rank of Specialist. . . .

       17.     Another letter provides the following, among other things:

               Djohi is always willing and motivated to perform the Army duties
               expected of him and he is always eager to learn. . . In my opinion
               Specialist Djohi exudes the Army values and is a perfect
               representation of what a US Army soldier should strive to be. . .
               Djohi is the kind of fellow soldier that becomes a true “Battle
               Buddy” that you can always count on and know that he’s watching
               your back.

       18.     And, a June 28, 2018 letter provides the following:

               I am writing to recommend Spc. Tounde Djohi for his honorable
               service and outstanding character of selflessness, hardworking and
               punctuality since he joined the 130th Chemical Company in
               February 2016. It’s been a privilege working in the same platoon
               with him for over two years because of the high working etiquette
               and morale he always brought to the platoon. Spc. Tounde Djohi’s
               willingness to serve this country of ours is unparallel and for this
               reason I will never think twice about his commitment and love for
               this country. I will always consider it an honor serving with him
               and knowing him as an individual.

       19.     These letters of recommendation were not taken into consideration when I was

discharged. In fact, I was provided no opportunity to respond to or be heard on the matter of my

discharge from the U.S. Army Reserve.

       20.     I will suffer serious and immediate harm as a result of the Army’s conduct absent

the Court’s intervention, including the discharge from the military itself, the inability to pursue my

military career, and potential adverse impact on veterans’ benefits. SFC Sake told me that as




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                          Exhibit A
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                          Exhibit B
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---------- Forwarded message ----------
From: "Sake, Isis N SFC USARMY HQDA DCS G-1 (US)" <isis.n.sake.mil@mail.mil>
To: "Djohi, Tounde Emery Precieux SPC USARMY (US)"
Cc:
Bcc:
Date: Fri, 22 Jun 2018 20:02:38 +0000
Subject: RE: Updated DD Form 4
SPC Djohi,

I am so sorry for this unfortunate news, I know it is not what you want to hear.

If you want to appeal any army decision, you can go to http://arba.army.pentagon.mil/abcmr-faq.html for additional
information


Very Respectfully,

Isis N. Sake
SFC, USA
Enlisted Accessions Branch (MAVNI)
HQDA DCS G1 (DAPE-MPA)
300 Army Pentagon, RM 1C449
Washington, DC 20310-0300
Phone: 703-695-7718
Email: isis.n.sake.mil@mail.mil


-----Original Message-----
From: Djohi, Tounde Emery Precieux SPC USARMY (US)
Sent: Friday, June 22, 2018 3:58 PM
To: Sake, Isis N SFC USARMY HQDA DCS G-1 (US) <isis.n.sake.mil@mail.mil>
Subject: RE: Updated DD Form 4

SFC Sake,

Thank you for the information. It is heart-breaking to read. I wanted nothing but to serve my nation of adoption, the United
States of America. I cannot give up to that dream of mine just yet.

Lastly, Is there anything I can do to appeal that adjudication and avoid the discharge?

I appreciate your patience and your time.

Very respectfully

SPC Djohi
________________________________________
From: Sake, Isis N SFC USARMY HQDA DCS G-1 (US)
Sent: Friday, June 22, 2018 6:33 PM
To: Djohi, Tounde Emery Precieux SPC USARMY (US)
Cc: Glanz, Alicia M CPT USARMY HQDA DCS G-1 (US); Etimani, Edmund R MSG USARMY 76 ORC (US)
Subject: RE: Updated DD Form 4
                                                                                                                               1/4
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SPC Djohi,

Below are the answers you requested:

- Unfortunately due to the level of classification, your results will not be available for release until the year 2042. For your
situational awareness, the level of classification determines the length of time results remain classified.

- For naturalization, USCIS requires a favorable MSSD in order to authorize naturalization. A copy of your unfavorable
MSSD was provided to USCIS on 8 June 2018 as it is directly related to your military obligations and may impact your
naturalization.

- Based on the separation code on your discharge orders, you are ineligible for reenlistment into any military
service/branch. You were authorized under the MAVNI program for entry into the service based on specific requirements,
so receiving a discharge would continually make you ineligible as your previous enlistment programs would reflect in the
systems.

Please let me know if there is anything else I can do for you.


Very Respectfully,

Isis N. Sake
SFC, USA
Enlisted Accessions Branch (MAVNI)
HQDA DCS G1 (DAPE-MPA)
300 Army Pentagon, RM 1C449
Washington, DC 20310-0300
Phone: 703-695-7718
Email: isis.n.sake.mil@mail.mil


From: Djohi, Tounde Emery Precieux SPC USARMY (US)
Sent: Friday, June 22, 2018 1:15 PM
To: Sake, Isis N SFC USARMY HQDA DCS G-1 (US) <isis.n.sake.mil@mail.mil>
Subject: RE: Updated DD Form 4

SFC Sake,

Thank you for your response. If you permit me, I have two questions.
Firstly, I need help being pointed in the right direction. How can I obtain the results ?
Secondly, does that mean I will be unable to naturalize and/or reenlist in the U.S. Army?

Very respectfully,

SPC Djohi.


________________________________
From: Sake, Isis N SFC USARMY HQDA DCS G-1 (US)
Sent: Friday, June 22, 2018 5:06 PM
To: Djohi, Tounde Emery Precieux SPC USARMY (US)
Cc: Etimani, Edmund R MSG USARMY 76 ORC (US); Glanz, Alicia M CPT USARMY HQDA DCS G-1 (US)
Subject: RE: Updated DD Form 4
SPC Djohi,

Our office, DA G-1 have reviewed your case files, and you do not meet the Army's Personnel Security requirement for
continued service. Due to the classification level of your security screening results, I am not authorized to discuss the
details of your results.


Very Respectfully,

Isis N. Sake
SFC, USA
                                                                                                                                   2/4
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Enlisted Accessions Branch (MAVNI)
HQDA DCS G1 (DAPE-MPA)
300 Army Pentagon, RM 1C449
Washington, DC 20310-0300
Phone: 703-695-7718
Email: isis.n.sake.mil@mail.mil

From: Djohi, Tounde Emery Precieux SPC USARMY (US)
Sent: Friday, June 22, 2018 12:50 PM
To: Sake, Isis N SFC USARMY HQDA DCS G-1 (US) <isis.n.sake.mil@mail.mil>
Subject: RE: Updated DD Form 4

SFC Sake,

Thank you for your prompt response.
I apologize for the inconvenience, and the delay in my response. I will use my chain of command to follow up.
It appears I am being discharged for unfavorable MSSD. The discharge mention a conduct disqualification. My recruiter
and my unit told me they don't know what it means and don't have any details.

Could you help me understand why my MSSD is unfavorable?


Very Respectfully,


SPC Djohi.
________________________________
From: Sake, Isis N SFC USARMY HQDA DCS G-1 (US)
Sent: Friday, June 08, 2018 4:03 PM
To: Djohi, Tounde Emery Precieux SPC USARMY (US)
Cc: Clark, Mark A Jr SGM USARMY HQDA DCS G-1 (US); Bell, Brian L MAJ USARMY 76 ORC (US); Etimani, Edmund
R MSG USARMY 76 ORC (US)
Subject: RE: Updated DD Form 4
SPC Djohi,

I am responding to an email you had sent to the HQDA DCS G-1 SGM, SGM Johnson in regards to a letter and a DD
Form 4 you are seeking for immigration purposes.

As a result of your inquiry, I have conducted a thorough review of your security screening requirements and verified that
your Personnel Security Investigation is currently with the DoD Consolidation Adjudication Facility (DoDCAF) awaiting
final adjudication. Once the adjudication has been made and your personnel security investigation and military service
suitability determination (MSSD) is completed favorably, USCIS will be notified immediately and sent a copy clearing you
for naturalization.

FYSA, the documents required for immigration purposes for all MAVNI Soldiers are the MSSD (which is the letter you are
inquiring about which is addressed above) and the Form N-426, Request for Certification of Military Service. You will need
to go through your chain of command, to obtain certified copy of your N-426.

Please let me know if there is anything else I can assist you with, and for all future inquiries, I highly encourage you utilize
your chain of command.


Very Respectfully,

Isis N. Sake
SFC, USA
Enlisted Accessions Branch (MAVNI)
HQDA DCS G1 (DAPE-MPA)
300 Army Pentagon, RM 1C449
Washington, DC 20310-0300
Phone: 703-695-7718
Email: isis.n.sake.mil@mail.mil

From: Clark, Mark A Jr SGM USARMY HQDA DCS G-1 (US)
Sent: Friday, June 8, 2018 11:26 AM
                                                                                                                                   3/4
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To: Sake, Isis N SFC USARMY HQDA DCS G-1 (US) <isis.n.sake.mil@mail.mil>
Subject: FW: Updated DD Form 4



V/r,
MC2


MARK A. CLARK JR.
SGM, USA
Directorate of Military Personnel Management (DMPM) Sergeant Major Deputy Chief of Staff G-1
300 Army Pentagon, Room 1D435
Washington, DC 20310-0300
Comm (703) 695-7980
DSN 312-225-7980
Cell: 703-870-6140

From: Johnson, Derek D SGM USARMY HQDA DCS G-1 (US)
Sent: Friday, June 8, 2018 7:18 AM
To: Djohi, Tounde Emery Precieux SPC USARMY (US)
Cc: Clark, Mark A Jr SGM USARMY HQDA DCS G-1 (US) <mark.a.clark52.mil@mail.mil>
Subject: RE: Updated DD Form 4


Good morning,



I have added SGM Clark that might be some assist to your inquiry, thanks.



________________________________
From: Djohi, Tounde Emery Precieux SPC USARMY (US)
Sent: Tuesday, June 05, 2018 2:57 PM
To: Johnson, Derek D SGM USARMY HQDA DCS G-1 (US)
Subject: Updated DD Form 4
Good afternoon SGM,

I am Spc Djohi. I need help obtaining my Corrected DD Form 4 and a written letter from the Office of the Deputy Chief of
Staff Army G-1. It is required from me for immigration purposes.

How can I obtain the form and the letter ?

I apologize for reaching out directly but the public affairs contact information was non responsive.

Sincerely,

SPC Djohi
130th CMCO 4th PLT


2 attachments
       smime.p7s
       6K
       noname.eml
       18K




                                                                                                                           4/4
